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_ et_LUURT
. Uz~ MASS.
UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF MASSACHUSETTS

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TERRY ROY c-:§ ,-.;~_,'"3
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Plaintiff,
v. ClV|L ACT|ON NO. 01-40137NMG
ClTY OF GARDNER, CHARLES J.
MANCA, individually and in his
capacity as Mayor of the City of
Gardner, JAMES DUFORT,
individually and in his capacity as
Chief of Po|ice for the City of
Gardner and ROGER WRlGLEY,
|ndividually and in his official
capacity as a Sergeant for the
Gardner Police Department,

Defendants,

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DEFENDANTS’ MEMORANDUM lN SUPPQRT OF MOT|ON TQ D|SMISS

|. |NTRODUCT|ON

The defendants, City of Gardner, (hereinatter “City”), its former mayor, Char|es J.
l\/|anca, (“l\/layor"), its former Chief of Po|ice, James Dufort, (“Chief Dufort") and
Sergeant cher Wrigley, (“Sgt. Wrig|ey"), have moved this Court to order the dismissal
of the plaintiff’s claims against them because the Comp|aint fails to state a claim for

which relief can be granted. Fed.R.Civ.P. 12(b)(6).

The plaintist complaint asserts violations of his Federa| Civi| Rights actionable

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pursuant to 42 U.S.C. § 1983, his State Civi| Rights actionable pursuant to |\/|.G.L. c. 12
§ 11H and |., as well as state torts of defamation of character, invasion of privacy,
intentional and negligent infliction of emotional distress , malicious prosecution, breach
of contract, interference with advantageous relations and breach of covenant of good
faith and fair dealing against all defendants 'l'he Defendants now move for dismissal of
all claims against them.
l|. STATEMENT OF RELEVANT ALLEGAT|ONS

The plaintiffs complaint does not contain a statement of facts but, merely asserts
various counts against the defendants Genera||y, the plaintiff alleges that the
defendants violated his civil rights and committed various torts when he was terminated
from his position as a police officer for the City of Gardner following the Chief Dufort’s
revocation of his firearms’ license.
ll|. STATEMENT OF l_JL|_|J|SPUTED FACTS1

The plaintiff, Terry Roy, (hereinafter “Roy”) was hired by the City of Gardner
Po|ice Department in 1993. Priorto that date, Roy had possessed a license to carry a
firearm which was issued in 1990. ln October 1997, Roy was the subject of an ongoing
investigation, and then police Chief Edward Cronin, placed Roy on administrative leave
and directed him to surrender his tirearms. As a result of the investigation, Roy was

terminated from his position as a police officer. The termination was later reduced to a

 

1 The above facts are gleaned from Judge Hillrnan’s factual findings following his
decision on the plaintiff’s writ of certiorari under M.G.L. c. 249 § 4 for a review of a District
Court decision affirming the revocation of his fireanns’s license. w Roy v. James Dufort, 1999
WL 1335 160.

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suspension. On December 28, 1998, when Roy’s suspension as to be complete, newly
appointed Po|ice Chief James Dufort, sent Roy a letter revoking his license to carry,
stating “your license to carry application was reviewed and it was determined that you
submitted and singed an application which contained false answers in violation of G.L.
c. 140 § 131. Furthermore, in light of recent information on record (arrest record, felony
conviction) in the Gardner Po|ice Department, l find that you are not a suitable person
to be licensed to possess a firearm.” Chief Dufort belief that Roy had provided false
answers on the firearms application was based on the following facts. On the license
application, Roy provided negative answers to questions about prior convictions, prior
arrests, prior appearances in any court as a defendant, and prior use of drugs or
narcotics. Chief Dufort had discovered however, that Roy’s criminal records indicated
that he had twice appeared before a juvenile court on delinquency complaints for a
false alarm and |arceny. ln addition, while serving in the United States Army in 1990,
Roy admitted to possession and use of cocaine. The firearms license was signed by
Roy under the pains and penalties of perjury and acknowledged that failure to provide
truthful answers to the questions would be just cause for denial or revocation of the
license.

Roy was placed on paid Administrative Leave by lVlayor |\/lanca on February 25,
1999, pending the outcome of Roy’s appeal of his firearms’ license revocation to the
District Court.

Fo|lowing Chief Dufort’s revocation of Roy’s license to carry, an appeal hearing

was held before the District Court as provided for under lVl.G.L. c. 140 § 131. The

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District Court affirmed Chief Dufort’s decision and Roy then appealed to the Superior
Court pursuant to lVl.G.L. c. 249 § 4. The Superior Court on December 1, 1999,
(Hillman, J) affirmed the District Court’s ruling that Chief Dufort’s revocation of Roy’s
firearms’ license was reasonable and supported by adequate facts

On December14, 1999, l\/layor Char|es l\/|anca, pursuant to M.G.L. c. 31 § 41-
44, notified Roy that he was contemplating terminating Roy based on his inability to
possess a license to carry a firearm. A hearing was held pursuant to M.G.L. c. 31 §41»
44, on December 14, 1999. On December 22, 1999, Mayor l\/lanca, as appointing
authority for the City of Gardner, notified Roy that he would be discharged and
terminated forjust cause. Roy has since appealed the Mayor’s decision to the
l\/lassachusetts Civil Service Commission for review.
lV. ARGUMENT

1. The Applicable Standard

ln ruling on a motion to dismiss under Fed.R.Civ.P. 12(b)(6), courts are to
construe the Comp|aint in the light most favorable to the plaintiffs and the allegations
are to be taken as true. Wright & Miller, 5A Federal Practice and Procedure: Civil 2d §
1357. “Nevertheless, it is also well established that the pleading requirements are ‘not
entirely ...... tooth|ess.’” Fleminq vs Lind-Waldock & Co., 922 F.2d 20, 23 (1St Cir. 1990),
Mg, Dartmouth Review v. Dartmouth College, 889 F.2d 13, 16 (1St Cir. 1989). For
example, legal conclusions or opinions couched as factual allegations are not given a
presumption of truthfulness 2A Moore, l\/loore’s Federal Practice ‘|j 12.07 (2.-5).
l\/loreover, each general allegation must be supported by a specific factual basis

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Emg, 922 F.2d at 23. The necessary factual averments are required with respect to
each material element of the underlying theory. M._ at 24.
2. Violations of 42 U.S.C. § 1983
A. 42 U.S.C. § 1983 Genera|ly
The proper cause of action for an alleged violation of constitutional rights is an
action pursuant to 42 U.S.C. section 1983 or l\/l.G.L. c. 12 §§ 11H or l. ln orderto
maintain a claim under Section 1983, the plaintiffs complaint must allege: (1) that the
conduct complained of was committed under color of state |aw; and (2) that such
conduct subjected the plaintiff to the deprivation of rights secured by the federal
constitution and laws. M, _e_.g;, Gomez v. Toledo, 446 U.S. 635, 100 S.Ct. 1920
(1980).
B. Due Process
Although the plaintiff has not used the words "procedural due process" in the
complaint, his alleges that the City of Gardner violated his civil rights when they
terminated him withoutjustiflcation. That in essence, is procedural due process
The Due Process Clause of the United_ States Constitution requires that, before
an individual is deprived of a constitutionally protected property interest by government
action, he must be given “notice and opportunity for hearing appropriate to the nature of

the case.” Cleveland Board of Education v. Loudermill, 105 S.Ct. 1487, 1493 (1985).

 

ln genera|, due process property interest claims follow a three part analysis:

(1) Does the public employee possess a “property interest" in continued

employment?

 

 

 

 

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(2) lf the answer to question 1 is “yes",`has there been a deprivation of the
employees’ property interest effected by the state employer?

(3) lf the answers to questions 1 and 2 are in the affirmative, was the deprivation
made without due process of law?

Continuing the public employee analysis, the First Circuit as stated that “the
extent to which a public employee has a constitutionally protected property interest in
continued employment sufficient to invoke the due process clause, however, must be
measured by, and decided with reference to, local law.” Rosario-Torres v. Hernandez-
QM, 889 F.2d 314 (1st Cir. 1989).

|n genera|, a constitutionally protected interest can be created by an employee’s
expectation in continued employment, but only if such expectation is reasonable
Beitze|l v. Jeffery, 643 F.2d 870, 874 (1st Cir. 1981). ln order to establish a procedural
due process claim under Section 1983, a plaintiff must allege, first, that he has a
property interest as defined by state law and second that the defendants acting under
color of state law, deprived him of that property interest without constitutionally
adequate process PFZ Properties. |nc. v. Rodriquez, 928 F.2d 28 (18't Cir. 1991).

When a complainant alleges violations of procedural due process and asserts
that these violations are cognizable under section 1983, the existence of state remedies
becomes highly relevant. Amsden v. l\/loran, 904 F. 2d 748 (1st Cir. 1990); Zinermon v
B_u@, 110 S. Ct. 975 (1990). A reviewing court must . . . examine "the procedural
safeguards built into the statutory or administrative procedure . . . effecting the

deprivation, and any remedies for erroneous deprivations provided by statute or tort

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|aw." Zinermon at 977. The availability ofjudicial review is an especially salient
consideration in situations where permits and licenses have been denied or revoked by
state or local authorities in alleged derogation of procedural due process Amsden at
752.

Here, in the present case, the plaintiff has not sufficiently pled that available
remedies under Massachusetts Law were inadequate to redress any deprivation of his
civil rights following his termination. See e.d., Rumford Pharmacv v. Citv of East
Providence, 970 F.2d 996, 999 (1st Cir. 1992). This omission alone warrants dismissal
of his procedural due process claim. M., citing Zinermon, 110 S.Ct. at 983; Roy v. City
of Augusta, l\/le, 712 F.2d 1517, 1522 (1st Cir. 1983); l\/lonahan v. Dorchester
Counselinq Center lnc., 961 F.2d 987, 994 n.7 (1st Cir. 1992).

The Commonwealth of Massachusetts in enacting M.G.L. c. 31 § 41~44 e_t M,
made constitutionally adequate remedies available to the plaintiff through an appeal of
his termination to the Massachusetts Civil Service Commission. (which he has done)
Roy has additional appellate rights available if the Massachusetts Civil Service
Commission upholds his termination. He can appeal said decision to the
Massachusetts Superior Court with subsequent appellate rights to the Massachusetts
Court of Appea|s and Supreme Judicial Court of Massachusetts A procedural due
process violation actionable under §1983 is not complete when the deprivation occurs;
it is not complete unless and until the state fails to provide due process Zinermon, 110
S.Ct. At 983. The post-deprivation remedies afforded to the plaintiff by M.G.L. c. 31 §

41 e_t seg., preclude his procedural due process claim under §1983.

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C. Equal Protection

The Fourteenth Amendment mandates that no State “deny to any person within
its jurisdiction the equal protection of the |aws. U.S. Const. Amend XlV.. ln order to
bring a successful equal protection claim, the plaintiff must show that, compared to
similarly situated people, he was selectively treated, and that such treatment was based
on impermissible considerations such as race, religion, intent to inhibit or punish in the
exercise of constitutional rights or malicious or bad faith intent to injure the plaintiff.
Rubinovitz v. Rogato, 60 F.3d 906, 909-910 (1st Cir. 1995). The plaintiff has not
alleged that he is a member of a protected class and there is no evidence to suggest
selective treatment by the defendants or treatment based on impermissible
considerations As a result, any equal protection claims must be dismissed.

l\/|oreover, as in the case of any equal protection claims against the City, the
plaintiff again must prove an “officia|, custom, practice or policy to violate his civil rights.
l\/lonell v. Department of Social Servs of New York, 436 U.S. 658, 694 (1978). The City
cannot be held vicariously liable in an action under Section 1983 unless its official
policy was the “moving force” behind the alleged violation of constitutional rights ld_..

D. § 1983 Claims Against the City of Gardner

ln none of the counts of the plaintiffs Comp|aint is the City of Gardner alleged to
have done anything which would give rise to liability under 42 U.S.C. Section 1983,

lnitially, to prevail on a Section 1983 claim, "a plaintiff must show that he or she

was deprived of a right, privilege or immunity secured by the Constitution or laws of the

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United States by a person acting under color of state law". Pittsley v. Warish, 1927 F.
2d 3, 6 (1st Cir.), cert denied, 112 S. Ct. 226 (1991) (citations omitted). A plaintiff may
not sue a local government or its officials under a theory of respondeat superior
pursuant to Section 1983, Board of the Countv Comm’rs of Brvant Countv v. Brown,
117 S.Ct. 1382, 1388 (1997); l\/lonell v. Dept. of Social Services, 436 U.S. 658, 691
(1978). Therefore, the plaintiff may not simply include the City as a defendant and
hope to impute the actions of individual defendant to it through respondeat superior.

l\/|oreover, the civil rights violations asserted against the City do not establish an
unconstitutional custom, practice or policy as there is no evidence of a custom or policy
in effect promulgated by the City that violated the plaintiffs civil rights.

"Proof of a single incident of unconstitutional activity is not sufficient to impose

liability under l\/|onell, unless proof of the incident includes proof that it was

caused by an existing, unconstitutional municipal policy, which policy can be

attributed to a municipal policy maker. _Otherwise, the existence of the

unconstitutional policy, and its origin, must be separately proved." City of

Ok|ahoma Citv v. Tuttle, 471 U.S. 808, 82-24 (Rehnquist, J., plurality opinion)

(footnote omitted), reh'g denied, 473 U.S. 925 (1985).

Based on the above, the plaintiffs 42 U.S.C. § 1983 claims as against the City of
Gardner must be dismissed.

E. Qualified immunity

Qualified immunity protects government officials such as l\/layor l\/lanca, Chief
Dufort and Sergeant Wrigley, who wield discretionary powers "from liability for civil
damages insofar as their conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have known". Har|ow v.

Fitzgerald, 457 U.S. 800, 818 (1982). Thus, "[e]ven defendants who violate

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constitutional rights enjoy a qualified immunity that protects them from liability for
damages unless it is further demonstrated that their conduct was unreasonable under
the applicable standard". Davis v. Scherer, 468 U.S. 183, 190 (1984). The plaintiff has
failed to produce any evidence that the individual defendants acted unreasonably.

As the Court of Appeals for the First Circuit has stated, the "applicable standard"
is an objective one and therefore:

Because qualified immunity does not address the substantive viability of a

section 1983 claim, but rather the objective reasonableness of a defendant's

actions, a plaintiff who is entitled to prevail on the merits is not necessarily

entitled to prevail on the issue of qualified immunity. Amsden v. Moran, 904 F.

2d 748, 751 (1st Cir. 1990).

issues of qualified immunity require the Court to address two questions First,
the Court must determine whether the right at issue was "clearly established". ln this
context, a right is "clearly established" if "[t]he contours of the right [are] sufficiently
clear that a reasonable official would understand that what he is doing violates that
right." Anderson v. Creiqhton, 482 U.S. 635, 640 (1987). Next, the Court must
"determine whether defendants reasonably should have comprehended that their
specific actions transgressed those "clearly established" rights Amsden, at 752.

Qualified immunity is a "necessary compromise" between the need to provide
remedies to individuals whose constitutional rights have been violated and the
necessity of protecting public officials from insubstantial lawsuits which may deter them
from carrying out their official responsibilities Rodrigues v. Furtado, 410 l\/lass 878,

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lt is important that the issue of qualified immunity be decided as soon as possible
in order to make the protection meaningful The Supreme Court has stated because
the immunity is

...immunity from suit rather than a mere defense to liability we have

repeatedly stressed the importance of resolving immunity questions at the

earliest possible stage in litigation. Hunter v. B[yant, 116 L. Ed 2d 589 (1991)

(citations omitted).

|n M, the Court concluded that the question of immunity should be decided
by the Court long before trial. Also, the Court should ask whether the agents acted
reasonably under settled law in the circumstances not whether another reasonable, or
more reasonable, interpretation of the events can be construed five years after the fact.
For this reason, the individual defendants urge this Court to rule in their favor at this
time as opposed to subjecting them to the burden and expense of further litigation.

3. Violations of M.G.L. C. 11 §H and |

A. MCRA Claims Against the lndividual Defendants

The Plaintiff alleges that individual defendants l\/lanca, Dufort and Wrigley,
deprived him of his rights under the constitution and laws of the United States and the
Commonwealth of Massachusetts As the Court is aware, the Massachusetts Civil
Right Act (“lVlCRA”) creates no substantive civil rights; rather, it provides a mechanism
for obtaining relief from the interference or attempted interference with rights conferred
by Federa| or Massachusetts Law. §ee |Vl.G.L. c. 12, Sections 11H and |; Howcroft v.

City of Peabody, 51 l\/lass.App.Ct. 573, 593 (2001).

ln addition, under M.G.L. C. 12, Section 11|, a Plaintiff is required to establish

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that his exercise or enjoyment of rights secured by the United States and the
Commonwealth have been interfered with by "threats, coercion or intimidation".
Swanset Dev. Corp. v. Citv of Taunton, 423 l\/lass. 390, 395 (1996)(gMg M.G.L. c.
12 § 11|); Ballv v. North Eastern Universitv, 403 l\/lass. 713, 717 (1989); Freeman v.
Planninq Board of West Bolvston. 419 l\/lass 548 (1995) gMg M. Courts have
recognized that the "legis|ature did not intend-to create a vast constitutional tort and
thus explicitly limited the state Civil Rights Act's remedy to a situation where derogation
of secured rights occurs by threats coercion or intimidation". Ba|ly v. North Eastern
University, 403 Mass. 713, 717 (1989); Bell v. l\/lazza, 394 l\/la. 176, 182-183 (1985).
These terms have been applied according to their natural connotation, that of forcing
submission by conduct calculated to frighten, harass or humiliate. M
Longmeadow, 29 l\/la. App. Ct. 599, 603 (1990) citing M, Supra, at 183-184; Pheasant
Ridge Assoc. Ltd. Partnership v. Bur|ington, 399 l\/lass. 771, 781-782 (1987); Q,_QM
Dempsey, 403 lvlass. 468, 470-471 (1988); M, Supra, at 718-720.

in the present case, the Plaintiff has failed even to allege in his complaint that he
was threatened, coerced or intimidated by the individual defendants

The first inquiry to determine a violation of the Massachusetts Civil Rights act is
whether the plaintiff has been deprived of a right secured by the Constitution of the
United States or the Commonwealth. Second, the complaint must allege specific facts
demonstrating that defendants used threats intimidation or coercion to interfere with
that rightl M, Supra, at 717. interestingly enough, throughout the plaintiffs’

complaint, there are no references as to “threats, intimidation or coercion" committed by

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the individual defendants to deprive the plaintiff of any constitutionally protected right.

As stated above, there is no evidence of any physical threats intimidation or
coercion by individual defendants to accomplish any such deprivation. The Supreme
Judiciai Court in M, said that a plaintiff suing under the same statute had failed to
offer adequate evidence to support a claim under the Civil Rights Act because he had
not demonstrated that the defendants used physical threats intimidation or coercion to
accomplish this deprivation. _Bally at 717.

The Supreme Judicia| Court has repeatedly pronounced that a defendant can be
held liable under the Civil Rights Act only in situations that "invo|ve an actual or
potential physical confrontation accompanied-by a threat of harm." Layne v.
Superintendent. l\/lass Correctional inst., 406 i\/lass. 156, 546 N.E. 2d 166 (1989) See
also Wiletts v. Roman Catholic Archbishop. 411 l\/iass. 202, 1991; Longval v.
Commissioner of Correction, 404 Mass. 325, 535 N.E. 2d 588 (1988).

The SJC noted in Ba_lly that almost all of the cases in which it had granted relief
under the Civil Rights Act involved a physical confrontation accompanied by a threat of
harm. My at 718.. The sole exception was in Redqrave v. Boston Svmbhonv
Orchestra, 399 l\/iass 93, 502 N.E. 2d 1375 (1987) in which it held that the defendants
cancellation of the plaintiff contract had the effect, intended or otherwise, desired or not,
of coercing Redgrave not to exercise her First Amendment rights Redgrave v. Boston
Symphony Orchestra, 399 l\/|ass. 93, 502 N.E. 2d 1375 (1987).

Even if one assumes for the sake of argument that the plaintiff need not show
physical confrontations or threats of physical harm to establish a claim under the

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Massachusetts Civil Rights Act, the fact remains that the plaintiff has failed to
substantiate, any use of "threats, intimidation or coercion”, by the individual defendants
and therefore cannot satisfy an essential element of such a claim. Silvia v. Building
inspector of West Bridqewater, 35 Mass App-. Ct. 451 (1993).
B. MCRA Claims Against the City

in a recent Massachusetts Appeals Court decision, the Court reaffirmed the long
standing proposition that a municipality is not a “person” covered by the Massachusetts
Civil Rights Act. See Howcroft v. Citv of Peabodv. 51 l\/lass.App.Ct. 573 (2001). As
such, the plaintiffs claims under the State Civil Rights Act as against the City of
Gardner must be dismissed

4. Constitutiona|itv of M.G.L. 140 _§ 131

The crux of Roy’s complaint concerning his allegations of civil rights violations
under both Federal and State law, appear to be a challenge to the validity of the
Massachusetts Gun Licensing Statute. (M.G.L. c. 140 § 131) Specifica||y, Roy requests
that this Court declare that said statute violates the Constitution of the United States
and Commonwealth of Massachusetts As discussed below, Roy’s constitutional
claims on these grounds fails to state an actionable claim.

A. Federa| Law

Whiie the range of constitutionally protected liberty interests is broad, it does not
include the right to carry a concealed weapon.

The statutory requirement that a licensing authority ascertain that the applicant

for a weapons-carrying license is a "suitable person" to carry firearms and has a proper

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purpose for doing so does not infringe on any protected property right or liberty interest.
i\/lacNutt v. Po|ice Commissioner of Boston. 30 Mass App. Ct. 632, 572 N. E. 2d 577
(1991); Commonwealth v. Davis. 369 i\/iass 886, 343 N. E. 2d 847 (1976).

The United States Supreme Court has held:

“To have a property interest in a benefit, a person clearly must have more than

an abstract need or desire for it. He must have more than a unilateral

expectation of it. He must, instead, have a legitimate claim of entitlement to it.”

Board of ReClents v. Roth, 408 U. S. 564, 92 S.Ct. 2701 (1972).

Particularly, with respect to firearms many federal courts have consistently held
that the Second Amendment does not establish an individual’s right to gun possession.
B, sps United States v. Wright, 117 F.3d 1265 (11th Cir.), M. QMQ, 522 U.S.
1007 (1997)(Second Amendment limited to “possession or use of weapons that is
reasonably related to a militia actively maintained and trained by the states); Hickman v.
M, 81 F.3d 98, 101 (9th Cir.), §§ Mie_d, 519 U.S. 912 (1996)(Second Amendment
“is a right held by the states and does not protect the possession of a weapon by a
private citizen”); Thomas v, Citv Council of Portland, 730 F.2d 41, 42 (1$t Cir.
1984)(“Established case law makes clear that the Federal Constitution grants appellant
no right to carry a concealed handgun”).

The Ninth Circuit in Erdelyi v. O'Brien, 680 F.2d 61 (9th Cir. 1982) in a similar
claim said, "EIM does not, and could not, argue that she has an absolute liberty to
carry a concealed weapon." § at 63. Further, in Conway v. King, 718 F. Supp. 1059
(D.N.H. 1989), the District Court added:

"lf defendant's refusal to renew the license at issue here

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imposed on the plaintiff a stigma or other disability that
foreclosed his freedom to take advantage of other
employment opportunities a protected liberty interest might
be implicated. The plaintiff however alleges no such
disability. Accordingly, the non-renewal of Conway's license
does not deprive him of a constitutionally protected liberty
interest."

Conway v. King, 718 F. Supp. 1059 (D.N.H. 1989).

Other State Courts have echoed similar rulings with respect to firearms licenses
in California, “the nature of a license to carry a concealed firearm... does not constitute
a significant property right". Rios v. Cozens, 7 Cal. 3d; 499 P.2d 979, vacated and
remanded, 410 U.S. 425 93 S.Ct. 1019 (1973).

Further, in Nichols v. Countv of Santa Clara, 273 Cal. Rptr. 84 (1990), The
Caiifornia Supreme Court ruled that:

"The privilege to carry a concealed Weapon on the person is
certainly not property in the ordinary sense. lt is not
monetary, such as welfare or social security benefits it is not
a government job, it is not a required license to practice a
profession, occupation or a business The plaintiff has not
shown that he cannot practice his business without the
|icense. ln fact, the plaintiff has shown no facts that he
needs the weapon for anything. Similar reported cases
discuss the claim that automobile drivers' licenses are
similar to concealed firearms licenses and that the greater
protection afforded to drivers' licenses should be given to
gun licenses This analogy, assuming the plaintiff will
attempt to make it, should not be persuasive to the Court.
l\/lost persons' |ivelihoods depend on the use of automobiles
Drivers' licenses are issued under statutory standards which
are specific and certain. l\/lillions of people qualify for them
and regard them as essential to the conduct of ordinary life.
Licenses to carry a concealed firearm, however, are rarities.
The statute leaves their issuance to the unfettered discretion
of the local police chief, in the interests of controlling

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dangerous weapons."
Nichols v. Countv of Santa Clara, 273 Cal. Rptr. 84 (1990).

l\/lore importantly, in a recent challenge to the validity of M.G.L. c. 140 § 131, the
District Court (Lasker, J) dismissed a suit brought by a disgruntled firearms’ license
applicant challenging the constitutionality of M.G.L. c. 140 § 131. §_e__e Costerus v.
M, 2001 WL 267456. The plaintiff in Costerus sought a determination by the District
Court that Massachusetts Law concerning the issuance of F|D cards and licenses to
carry violated the Second Amendment. The Court dismissed the plaintiffs complaint
reaffirming the long standing views regarding the application of the Second Amendment
to individual’s rights’ to bear arms

B. State Law

The goal of firearms control legislation is to "iimit access to deadly weapons by
irresponsible persons." Ruqqerio v. Po|ice Commr. of Boston. 18 lVlass. App. Ct. 256,
258, 464 N.E. 2d 104 (1984). Among the principal measures adopted in furtherance of
that goal are the provisions of G.L. c. 140, sec. 1298 and 131, governing the licensing
of persons to carry firearms l_d. at 259, 464 N.E. 2d 104. These statutory requirements
do not present any question of infringement of any protected property right or liberty
interest. Commonwealth v. Davis 369 lVlass. 886, 888, 343 N.E. 2d 847 (1976). C_hi@c
of Po|ice of Shelburne v. i\/lover. 16 Mass. App. Ct. 543, 547, 4453 N.E. 2d 461 (1983).
There is no right under the State Constitution for a private citizen to keep and bear

arms and thus, to require that a citizen have a license to do so is not unconstitutional

§§ Davis and l\/loyer.

 

 

 

 

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l\/ioreover, the Supreme .ludicial Court of Massachusetts in a recent opinion,
rejected two claims by gun owners challenging the validity of the Massachusetts Gun
licensure scheme. in Levine v. Chief Justice of the District Court. SJC #08290, the
Court dismissed claims made by two gun owners who sought to overturn G.L. ch. 140
sec. 129B and 131 . Levine v. Chief Justice of the District Court. SJC #08290,

Chief Dufort was the licensing authority under G.L. ch. 140 sec. 129B and 131,
and specifically, is empowered to perform duties relating to licensure. St. 196221 ch.
322, sec. 1 (7) and (13). He has been given "considerable latitude" in the performance
of this task. Ruggerio, grpr_a, 18 Mass. App. Ct. at 259, 464 N.E. 2d 104. in addition,
i\/l.G.L. c. 141 § 131 grants to him without guidelines of the general power and
responsibility of determining a person's suitability to carry firearms necessarily includes
any incidental power reasonably related to effectuating the purposes of the granting
statute. (firing tests etc.)

|nsomuch as Chief Dufort’s decision has passed both District Court and Superior
Court scrutiny, the plaintiffs claims challenging the validity of M.G.L. c. 140 § 131 must

be dismissed.

5. The Massachusetts Tort Claims Act Bars intentional Torts Against
the City of Gardner
Under the Massachusetts Tort Claims Act, G.L. c. 258 §10(c), municipalities are

not liable for:

“Any claim arising out of an intentional tort, including assault and battery,
false imprisonment, false arrest, intentional mental distress malicious

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prosecution, malicious abuse of process libei, siander,
misrepresentation, deceit, invasion of privacy, interference with
advantageous relations or interference with contractual relations.”
G.L. c. 258 §10(c) (emphasis added)

Public employers are immune from suits arising from intentional torts. M_QM
Commonwealth, 421 l\/lass. 147 (1995); l\/lolinaro v. Town of Northbridqe, 419 l\/lass.
278 (1995); Armstrong v. Lamy, 928 F.Supp. 1018 (D.l\/lass. 1996); Melendez v. City of
Worcester, 870 F.Supp. 11 (D.l\/lass. 1994); Consolo v. George, 835 F.Supp. 49
(D.l\/lass. 1993).

Accordingly, any claims of intentional torts (defamation of character, invasion of
privacy, intentional infliction of emotional distress malicious prosecution, abuse of
process intentional interference with contractual relations or constructive wrongful
termination) by the plaintiff against the City must be dismissed.

6. intentional Tort Claims Acfainst the individual Defendants

A. interference with Contractual Relations

Genera|ly, in order for the plaintiff to establish a prima facie case for interference
with contract or business relations with his employer by the individual defendants
Dufort and Wrigley, the following four elements must be proved:

(1) Existence of a valid contractual relationship between the plaintiff and a

third party or a valid business expectancy of the plaintiff;

(2) Defendant’s knowledge of the relationship or expectancy;

(3) intentional interference by defendant that induces a breach or

termination of the relationship or expectancy; and

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(4) Damage to the plaintiff
Restatement of Torts (Secondi § 767 l1979i.

As part of the prima facie case, Massachusetts Courts require that the
interference be improper in the motive of means G,S. Enterprises, |nc. v. Falmouth
Marine lnc., 410 l\/lass 262 (1991); United Truck Leasind Corp. v. Geitman, 406 Mass
811, 812~817 (1990).

Arguably, in the present case the plaintiff had a valid business expectancy with
the City of Gardner and Chief Dufort and Sgt. Wrigley were aware of its existence. The
plaintiff however, has no evidence nor is there a genuine issue of material fact that
there was a intentional interference by Chief Dufort or Sgt. Wrigley that induced a
breach or termination of the plaintiffs contractual relationship with the City of Gardner
or his expectancy therefrom. Roy was terminated by the City of Gardner due to the
fact that he no longer possessed a license to carry a firearm which is an essential part
of his job as a police officer. Said revocation was upheld by both the District Court and
Superior Court. l\/loreover, Roy has not exhausted his administrative remedies in
appealing said dismissal to the Massachusetts Civil Service Commission. Accordingly,
the plaintiff has not stated a valid claim for intentional interference with contractual or
business relations

B. Defamation

The Supreme Judicial Court has stated that in defamation cases summary

judgment is appropriate, indeed favored, even where actual malice raises a state of

mind issue. E|m Medical Laboratorv. lnc. V. RKO General. lnc., 403 Mass. 779 (1989);

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King v, Globe Newspaper Co., 400 Mass 705, 708 (1987), cen‘. denied, 485 U.S. 940
(1988). On the issue of state of mind in a summaryjudgment motion, the courts must
act with “great circumspection”. Nonetheless,l ‘[t]here must be some indication that [the
plaintiff] can produce the requisite quantum of evidence to enable [him] to reach the jury
with [his] claim.” A. John Cohen, lns. Aqencv. |nc. v. l\/liddlesex |ns. Co., 8 l\/lass
App.Ct. 178 (1979).

Specifically, with respect to police officers the Supreme Judicial Court has
stated that patrol officers are “public officials” and any claim for defamation must show
actual malice to recover based on statements relating to his official conduct. Rotkiewicz
v. Sadowsky, 431 l\/lass. 748 (2000). The SJC reasoned that "the abuse of a
patrolman’s office can have great potentiality for social harm; hence, public discussion
and public criticism directed towards the performance of that office cannot be
constitutionally be inhibited by threat of prosecution under State libel laws” Rotkiewicz,
431 Mass at 753.

|n the context of defamation, the term “actual malice" dos not mean the
defendant’s dislike of, hatred of, or ill will toward, the plaintiff @. Rather, actual malice
means defamatory falsehood was published with the knowledge that it was false or in
reckless disregard of whether it was false. @. gugti_ng, Stone v. Essex Countv
Newspapersl lnc., 367 lVlass. 849, 851 (1975). The inquiry is a subjective one as to the
defendant’s attitude toward the truth or falsity of the statement rather than the
defendant’s attitude toward the plaintiff @.

i\/loreover, communications made by public officials within the scope of their

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duties are privileged. l\/luiorew v. Citv of Taunton, 410 Mass. 631 (1991); Vigoda v.
§a@, 348 Mass. 478, 483-485 (1965). This includes communications received or
made during proceedings of administrative offices An ordinary administrative
proceeding to revoke a license is within the privilege. §§ Lininger v. Knight, 226 P.2d
809 (1989). Officials sued for defamation based upon actions taken in the scope of
their duties are protected from liability. S_ee Doe v. l\/chilllan, 412 U.S. 306 (1973);
Lebuki v. Van Wormer, 587 F.Supp. 1390 (1984).

When a defendant’s statements are privileged, a plaintiff cannot succeed in a
defamation suit unless he or she establishes that the defendant knowingly or recklessly
published the defamatory statement. Mulcfrew v. Citv of Taunton, 410 Mass. 631
(1991); Tosti v. Ayik, 386 Mass. 721, 726 (1982); Shore v. Retailers Commercial
Agency, lnc., 342 l\/|ass. 515, 520 (1961); Landry v. Mier, 921 F.Supp 880 (D.l\/lass
1996); Lvons v. National Car Rental Svstems. lnc., 30 F.3d 240 (1st Cir, Mass. 1994);
§e_e a_lsp Restatement (Second) of Torts § 600 (1977).

When such conditional privilege is found to exist, it is destroyed only if it is
abused. On this issue, the burden is on the plaintiff Shore v. Retaiiers Commercial
Agency, lnc., 342 l\/iass. 515, 520 (1961). “Whether the statements....were true or false
is immaterial if there was no abuse of the privilege and there was no showing of actual
malice." Burns v. Barry, 353 Mass. 115, 119 (1967).

in the present case, any alleged defamatory statements concerning Roy were
made during the firearms licensing revocation process which included administrative

hearings and District Court proceedings Any statements made at these judicial

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proceedings attributable to the defendants Manca, Dufort or Wrigley, were made
concerning Roy’s suitability to carry a firearm.' DeLuca v. Chief of Po|ice of Newton,
415 Mass. 155 (1993); l\/iacNutt v. Po|ice Com’r of Boston. 30 l\/lass. App.Ct. 632 (1991)
review denied 410 Mass. 1104 (1991). As the Court is aware, the goal of firearms
control legislation is to "iimit access to deadly weapons by irresponsible persons."
Ruocferio v. Po|ice Commr. of Boston. 18 Mass. App. Ct. 256, 258, 464 N.E. 2d 104
(1984). Any alleged defamatory statements attributable to the individual defendants
were made within the scope of their official duties as licensing authority pursuant to
lV|.G.L. c. 140 § 131.

l\/loreover, the plaintiff has not, with certainty, identified what defamatory words
statements or publications were attributed to the defendants

The plaintiff has not, as is his burden, submitted any evidence that the individual
defendants abused their conditional privilege Roy has submitted no evidence nor does
the complaint contain allegations that the defendants knowingly or recklessly published
any defamatory statements Accordingly, i\/layor Manca, Chief Dufort and Sgt. Wrigley

are immune from liability.

C. Malicious ProsecutionlAbuse of Process
in order to prove a tort of malicious prosecution, the plaintiff must show: 1) the
institution of criminal process against him with malice; 2) without probable cause; and
3) the criminal proceeding terminated in favor of the plaintiff 37 Noian and Sartorio,
Tort Law, Section 77; Wynne v. Rosen, 391 Mass. 797, 798 (1984); Cole v. Pulley, 18

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Mass. App. Ct. 950, 951 (1984).
To proceed under a theory of abuse of process a plaintiff must allege and prove
(1) that the defendants used lawful process to accomplish an unlawful purpose, (2) with

malice, (3) to his damage Bednarz v. Bednarz, 27 l\/lass. App. Ct. 668 (1989).

 

in the present case, Roy has failed to sustain his burden that 1) there was an
institution of criminal process against him. Nowhere in the plaintiffs complaint is it
alleged that a criminal prosecution was commenced against him. As such, Roy has
failed to satisfy the first element of the claim for malicious prosecution. Similariy, Roy
has failed to allege sufficient facts to warrant a claim for abuse of process There are
no allegations or evidence that the defendants used lawful process to accomplish an
unlawful purpose Accordingly, Roy’s abuse of process claims must be dismissed as
well.

D. invasion of Privacy
Pursuant to M.G.L. c. 214 § 1B, a claim for invasion of privacy must allege

unreasonable substantial, or serious interference with one’s privacy. Pendleton v. City

 

of Haverhill, 156 F.3d 57 (1998) citino; Cannev v. Citv of Chelsea, 925 F.Supp. 58
(D.l\/lass. 1996); Ellis v. Safetv insurance Combanv. 41 Mass.App.Ct. 639, 637 (1996).
Here in the present case, the plaintiff alleges that the individual defendants invaded his
right to privacy by disseminating information regarding his work and employment history
in connection with the revocation of his firearms license He has not identified the
specific statements that supposedly intruded upon his privacy. Even if such
statements were identified, they would not constitute private information. §§

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generallv, United States v. Dionisio. 410 U.S. 1, 14 (1973) (no expectation of privacy in
one’s appearance); Brown v. Hearst Corp.. 862 F. Supp. 622, 631 (D.lVlass. 1994)
(explaining that there can be no expectation of privacy vis~a-vis information that has
already filtered into public domain), aff_d, 54 F.3d 21 (1St Cir. 1995); Whirty v. Lynch, 27
Mass.App.Ct. 498 (1989) (sanctionlng release of information pertaining to plaintiffs
criminal background).
E. intentional infliction of Emotiona| Distress

The plaintiffs complaint alleges that the individual defendants intentionally
inflicted emotional distress upon him. As discussed above, there can be no liability for
intentional acts against the municipal defendant. As to the individual defendants the
plaintiff has failed to set forth a prima facie case of intentional infliction of emotional
distress

in order to successfully state a claim for intentional infliction of emotional
distress when as here, no physical injuries are involved, the plaintiff must establish the
following four elements:

1. that the actor intended to inflict emotional distress or he knew or should
have known that emotional distress was the likely result of his conduct;

2. that the conduct was "extreme and outrageous" was "beyond all possible
bounds of decency" and was "utterly intolerable in a civilized community";

3. that the actions of the defendants were the cause of the plaintiffs' distress;
and
4. that the emotional distress sustained by the plaintiffs was "severe" and of

a nature "that no reasonable man could be expected to endure it".

Aqis v. Howard Johnson Co., 371 Mass. 140, 355 N.E.2d 315,318»319(1976).

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4. that the emotional distress sustained by the plaintiffs was "severe" and of
a nature "that no reasonable man could be expected to endure it".

Aqis v. Howard Johnson Co., 371 i\/iass 140, 355 N.E.2d 315, 318-319 (1976).

Here, in the present case, as a matter of law, it cannot be said that Chief Dufort,
i\/layor l\/lanca or Sgt. Wrigley’s actions were “extreme and outrageous”, “beyond all
possible bounds of decency" or were "utterly intolerable in a civilized community”. Chief
Dufort and l\/layor l\/lanca were acting pursuant to statutory authority in terminating Roy.
As such, any claims for intentional or negligent infliction of emotional distress must be
dismissed
V. CONCLUS|ON

Based on the above arguments the defendants respectfully request that this

Court dismiss all of the plaintiffs claims against them.

The defendants City of Gardner,
C ries J. i\/ianca, James E. Dufort and
R er Wrigley,
Q_dz 81@11 B h ' attorneys
Date: ' `

 
 

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CERT|F|CATE OF SERV|CE
l, JamesV\/. Slmpson, Jr. ,hereby certify that on thel? day of September,

2001, l served the foregoing by causing a copy to be ailed, postage prepaid, directed
to i\/lichael R. Halpln, Esq., 70 Elm Street, Worcester A 01609 (NAGE/lBPO).

Jame§_\?/. Simpson, Jr.

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CERT|F|CAT|ON PURSUANT TO L.R. 7.1 lAi(2l

The undersigned certifies that he has conferred with plaintiffs counsel and
attempted in good faith to resolve or narrow the issues presented in this motion.

jn/~~

Jame§iiv./ Simpson, Jr.

 

 

 

